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                   20SL-CC02098 - VIRGINIA HERRMANN V SAM'S EAST, INC. D/B/A SAM'S
                                              C (E-CASE)


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  05/18/2020           Agent Served
                       Document ID - 20-SMCC-3675; Served To - SAM'S EAST, INC. D/B/A SAM'S CLUB #6474; Server - ;
                       Served Date - 01-MAY-20; Served Time - 00:00:00; Service Type - Special Process Server; Reason
                       Description - Served

  05/15/2020           Affidavit Filed
                       Return of Service Affidavit for Defendant Sams East Inc dba Sams Club 6474.
                         Filed By: WILLIAM WYLIE BLAIR
                         On Behalf Of: VIRGINIA HERRMANN

  04/24/2020           Summons Issued-Circuit
                       Document ID: 20-SMCC-3675, for SAM'S EAST, INC. D/B/A SAM'S CLUB #6474.Summons Attached
                       in PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.

  04/20/2020           Filing Info Sheet eFiling
                           Filed By: WILLIAM WYLIE BLAIR
                       Note to Clerk eFiling
                           Filed By: WILLIAM WYLIE BLAIR
                       Motion Special Process Server
                       Request for Appointment of Special Process Server.
                         Filed By: WILLIAM WYLIE BLAIR
                         On Behalf Of: VIRGINIA HERRMANN
                       Pet Filed in Circuit Ct
                       Petition.
                       Judge Assigned
                       DIV 17
 Case.net Version 5.14.0.17                                             Return to Top of Page                                            Released 11/25/2019




                                                                                                                             Exhibit A


https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                                  1/1
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                                                                             20SL-CC02098

        IN THE CIRCUIT COURT FOR THE TWENTY-FIRST JUDICIAL CIRCUIT
                         ST. LOUIS COUNTY, MISSOURI

VIRGINIA HERRMANN,                           )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case No.
                                             )
SAM’S EAST, INC. d/b/a SAM’S                 )       Div.
CLUB #6474,                                  )
                                             )
Serve: CT Corporation System                 )
       120 South Central Ave.                )
       Clayton, Missouri 63105               )
                                             )
       Defendant.                            )


                                           PETITION

       Plaintiff Virginia Herrmann, by and through her undersigned attorneys, for her consumer

class action against defendant Sam’s East, Inc. d/b/a Sam’s Club #6474, states as follows:

       1.      This is a consumer class action against Defendant, and its predecessors and

successors, seeking relief to redress an unlawful and deceptive pattern of wrongdoing followed

by Defendant regarding the unilateral elimination without notice of the Sam’s Business

Membership for members who had already paid for it and the up-charging of said members into

Sam’s Plus Memberships.

       2.      Defendant violated common law, MO. STAT. ANN. § 407.020.1, 15 CSR 60-

8.040(1), 15 CSR 60-8.050(1), 15 CSR 60-8.060(1), 15 CSR 60-8.070(1) and/or 15 CSR 60-

8.080 by unilaterally eliminating, without notice, the Sam’s Business Membership after members



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paid for it and/or by deceiving, fraudulently inducing and/or coercing Sam’s Business

Membership customers into paying to upgrade to a Sam’s Plus Membership.

         3.    Herrmann sues individually and for all other similarly situated consumers.

Herrmann seeks actual damages and such other and further relief as the Court may deem

appropriate.

                                              Parties

         4.    Plaintiff Virginia Herrmann is a resident of St. Louis County, Missouri.

         5.    Defendant Sam’s East, Inc. d/b/a Sam’s Club #6474 is a corporation organized

and existing under the laws of the State of Arkansas and doing business in St. Louis County,

Missouri. Defendant does business in Missouri under numerous fictitious registrations,

including but not necessarily limited to Sam’s Club #4741, Sam’s Club #4875, Sam’s Club

#4920, Sam’s Club #4985, Sam’s Club #6252, Sam’s Club #6415, Sam’s Club #6479, Sam’s

Club #6505, Sam’s Club #8125, Sam’s Club #8163, Sam’s Club #8182, Sam’s Club #8205,

Sam’s Club #8207, Sam’s Club #8243, Sam’s Club #8251, Sam’s Club #8293 and Sam’s Club

#8296.

         6.    All allegations of acts and/or omissions by Defendant include, but are not limited

to, acts and omissions of Defendant’s officers, directors, operators, managers, supervisors,

employees, affiliates, subsidiaries, vice-principals, partners, agents, servants and/or owners; and

that such acts and/or omissions were made with Defendant’s express and/or implied authority, or

were ratified or otherwise approved by Defendants; or that such acts and/or omissions were made

in the routine normal course and scope of their agency and employment as Defendant’s officers,

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directors, operators, managers, supervisors, employees, affiliates, subsidiaries, vice-principals,

partners, agents, servants and/or owners.

                                      Jurisdiction and Venue

       7.      This is a civil action in which Plaintiff and the classes seek over $25,000.

Defendant Sam’s East, Inc. d/b/a Sam’s Club #6474 maintains its principal place of business in

St. Louis County, Missouri.

       8.      Venue is proper in under MO. STAT. ANN. § 508.010 because Herrmann is a

resident of St. Louis County, Defendant may be found in St. Louis County, Missouri and the

acts, transactions, omissions and/or injuries at issue first occurred in St. Louis County, Missouri.

                                        General Allegations

       9.      Sam’s Club is an international chain of membership-only retail warehouse clubs

owned and operated by Walmart Inc. Founded in 1983, Sam’s Club is named after Walmart

founder Sam Walton. It ranks second in sales volumes among warehouse clubs in the United

States, grossing nearly $60 billion in sales in 2019. As of January 31, 2020, Sam’s Club

operated 599 membership warehouse clubs throughout the United States in 44 states, Puerto Rico

and the U.S. Virgin Islands.

       10.     Until 2006, Sam’s Club used the slogan “We Are In Business for Small

Business,” reflecting a focus on serving small businesses. The slogan was retired as part of

Sam’s Club’s effort to shift its marketing focus from small businesses to individual consumers.

       11.     Sam’s Club memberships are available to qualifying owners or operators of

businesses or licensed professionals. Members pay an annual fee.

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       12.     At the beginning of 2019, Sam’s Club offered three different membership options:

a Sam’s Savings Membership for $45 per year, a similarly-priced Sam’s Business Membership,

which allowed members to shop before regular shopping hours, and a Sam’s Plus Membership

for $100 per year, which included free prescriptions, cash rewards and optical benefits.

       13.     At the beginning of 2019, Herrmann had a Sam’s Business Membership. Her

Sam’s Business Membership renewed for an additional year on or about February 2, 2019. In

connection with her renewal, Herrmann paid an annual Sam’s Business Membership fee for

2019 – 2020. Her membership number was 10190130388140352.

       14.     Herrmann routinely availed herself of the benefits of Sam’s Business

Membership, including the ability to shop as early as 7:00 a.m., before regular shopping hours.

Herrmann relied on the availability of early shopping hours as a means to shop when the store

was less crowded, allowing her to get in and out faster than she could during other times of the

day.

       15.     On or about July 5, 2019, Herrmann went to shop at Sam’s Club #6474 in

Maplewood, Missouri between 7:00 a.m. and 9:00 a.m., prior to regular shopping hours pursuant

to the terms of her Sam’s Business Membership. She proceeded to checkout and was informed

Sam’s had unilaterally eliminated the Business Membership tier and that she could not check out

prior to 9:00 a.m. unless she upgraded to a Sam’s Plus Membership. During a subsequent visit,

the shopper before in line was told substantially the same.




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        16.    A Sam’s customer service representative told Herrmann that Sam’s was informing

customers of the change in membership levels on a “case by case” basis as customers came into

the store.

        17.    On or about July 5, 2019, Sam’s charged Herrmann $34.35 for an upgrade to a

Sam’s Plus Membership. In paying said amount, Herrmann relied upon Sam’s Club’s false

representation that paying to upgrade to Sam’s Plus Membership was necessary in order to

continue shopping before 9:00 a.m. going forward.

        18.    At a subsequent visit to Sam’s Club #6474 shortly thereafter, Herrmann noted the

store greeters were no longer checking membership cards to confirm whether shoppers were

eligible to shop before 9:00 a.m. Herrmann was at that time informed by a Sam’s Club #6474

employee that the store was open to all members at 7:00 a.m., regardless of membership level.

Consequently, there was no need for Herrmann to have been charged for a Plus Membership in

order to be able to shop before 9:00 a.m.

        19.    Upon information and belief, at some point during 2019 Sam’s Club eliminated

the previous membership tiers and adopted a two-tier system consisting of Primary Membership

and Plus Membership. Upon information and belief, at some point during 2019 Sam’s also

eliminated its restriction on shopping hours, allowing all members to shop as early as 7:00 a.m.

regardless of membership level.

                                        Class Allegations




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       20.     Plaintiff brings her Petition individually and for classes designated under MO. R.

CIV. P. 52.08(b)(3) to remedy the ongoing unfair, unlawful and/or deceptive business practices

alleged and seeks redress for all persons harmed.

       21.     The Class is comprised of all persons who were charged for an upgrade from a

Sam’s Business Membership to a Sam’s Plus Membership between February 2, 2019 and

February 2, 2020.

       22.     The Missouri Class is comprised of all Missouri residents who were charged for

an upgrade from a Sam’s Business Membership to a Sam’s Plus Membership between February

2, 2019 and February 1, 2020, as well as all non-Missouri residents who were charged for an

upgrade from a Sam’s Business Membership to a Sam’s Plus Membership between February 2,

2019 and February 1, 2020 at a Sam’s Club situated in the State of Missouri.

       23.     Members of the class are so numerous their individual joinder is impracticable,

insofar as Defendant does business through 599 locations nationwide, is the second largest

warehouse club by sales volume in the United States and the class is comprised of all individuals

who participated in the second tier of Defendant’s three-tier membership program between

February 2, 2019 and February 1, 2020 who were charged for an upgrade from a Sam’s Business

Membership to a Sam’s Plus Membership between February 2, 2019 and February 1, 2020. The

classes are sufficiently numerous to make joinder impracticable, if not impossible. The precise

number of class members is unknown.

       24.     There are questions of law and fact common to the classes, which questions

predominate over any issues involving individual class members.

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       25.     The principal legal question common to Plaintiff and each Class member is

whether Sam’s Club’s violated consumers’ contractual and/or common law rights by unilaterally

eliminating, without notice, the Sam’s Business Membership after members paid for it and/or by

deceiving, fraudulently inducing and/or coercing Sam’s Business Membership members

customers into paying to upgrade to a Sam’s Plus Membership.

       26.     The principal legal question common to Plaintiff and each Missouri Class

member, in addition to that set forth in the foregoing paragraph, is whether Sam’s Club’s

conduct violated MO. STAT. ANN. § 407.020.1, 15 CSR 60-8.040(1), 15 CSR 60-8.050(1), 15

CSR 60-8.060(1), 15 CSR 60-8.070(1) and/or 15 CSR 60-8.080.

       27.     Plaintiff’s claims are typical of the claims of the Class and Missouri Class

members.

       28.     Plaintiff’s and the classes’ claims are based on the same factual and legal theories.

       29.     Plaintiff’s and the class members’ rights derive from common law and, in the case

of the Missouri Class, Missouri’s Merchandising Practices Act and implementing regulations.

       30.     Upon information and belief, Sam’s Club membership status changes for all Class

Members were substantively identical to that of Plaintiff.

       31.     Plaintiff and each of the class members were damaged and may recover actual

damages, including but not limited to the amount charged by Sam’s Club for Sam’s Business

members to upgrade to Sam’s Plus Membership status.

       32.     Plaintiff will fairly and adequately represent and protect the interest of the classes.

       33.     The class members and Plaintiff have no antagonistic interests.

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        34.      Plaintiff’s counsel is competent and experienced in consumer and class litigation.

        35.      Plaintiff and all class members have an interest in determining their rights in the

circumstances.

        36.      The questions of law or fact common to the classes predominate over questions

affecting only individual members.

        37.      Plaintiff and each class member will rely on the same basic evidence, specifically

the date and amount of their last Sam’s Business Membership renewal, the date and amount they

were charged for a Sam’s Plus Membership and any communications with Sam’s Club regarding

their change in membership status.

        38.      Determining the legal basis, or lack thereof, for the charges assessed by Sam’s

Club for a change in membership status from Sam’s Business Membership to Sam’s Plus

Membership resolves all class members’ claims because all members of the class and/or

Missouri Class were charged for such a change in membership.

        39.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

        40.      Most class members are probably unaware Defendant violated their rights and the

law.

        41.      If each of the class members were forced to bring an individualized suit, such

suits would burden judicial resources and would create the risk of multiple inconsistent results

for similarly situated parties.




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         42.    Concentrating the litigation of Plaintiff’s and the class members’ claims is also

desirable and logical given the predominance of common questions of law and fact alleged

above.

         43.    The classes should be certified under Rule 52.08(b)(3) as the superior method for

the fair and efficient adjudication of this controversy.

                                   Count I – Breach of Contract

         44.    The allegations set forth in paragraphs 1 – 43 are incorporated by this reference as

if fully set forth herein.

         45.    Herrmann and Sam’s Club had a contract in the form of Herrmann’s Sam’s

Business Membership and the rights and expectancies arising out of same, including but not

limited to the ability to shop before 9:00 a.m. with the benefit of not having members who were

not also Sam’s Business members shopping at the same time.

         46.    Sam’s Club breached its contract with Herrmann by unilaterally terminating the

Sam’s Business Membership without notice to Herrmann and by withdrawing the benefits said

membership conferred, including but not limited to the ability to shop before 9:00 a.m. with the

benefit of not having members who were not also Sam’s Business members shopping at the same

time.

         47.    As a result of Sam’s Club’s breach of contract, Herrmann was damaged.

         WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest and

such other and further relief as the Court deems just and proper.

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              Count II – Breach of the Implied Covenant of Good Faith and Fair Dealing

        48.      The allegations set forth in paragraphs 1 – 43 are incorporated by this reference as

if fully set forth herein.

        49.       Herrmann and Sam’s Club had a contract in the form of Herrmann’s Sam’s

Business Membership and the rights and expectancies arising out of same, including but not

limited to the ability to shop before 9:00 a.m. with the benefit of not having members who were

not also Sam’s Business members shopping at the same time.

        50.      Sam’s Club unilaterally terminated the Sam’s Business Membership without

notice to Herrmann and by withdrawing the benefits said membership conferred, including but

not limited to the ability to shop before 9:00 a.m. with the benefit of not having members who

were not also Sam’s Business members shopping at the same time.

        51.      In so doing, Sam’s Club exercised a judgment conferred by the express terms of

its contract with Herrmann in such a manner as to evade the spirit of the transaction and/or to

deny Herrmann of the expected benefit of the contract.

        52.      As a result of Sam’s Club’s breach of the implied covenant of good faith and fair

dealing, Herrmann was damaged.

        WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest,

punitive damages and such other and further relief as the Court deems just and proper.

                              Count III – Fraudulent Misrepresentation




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         53.    The allegations set forth in paragraphs 1 – 43 are incorporated by this reference as

if fully set forth herein.

         54.    Sam’s Club, through the cashier, customer service representative and/or agents

and employees at Sam’s Club #6474, represented to Herrmann that in order to continue shopping

and/or checking out before 9:00 a.m., she would need to pay to upgrade to a Sam’s Plus

Membership.

         55.    The representation that Herrmann would need to pay to upgrade to Sam’s Plus

Membership in order to continue shopping and/or checking out before 9:00 a.m. was false when

made.

         56.    The representation that Herrmann would need to pay to upgrade to Sam’s Plus

Membership in order to continue shopping and/or checking out before 9:00 a.m. was material.

         57.    Sam’s Club’s employees and/or agents knew the representation that Herrmann

would need to pay to upgrade to Sam’s Plus Membership in order to continue shopping and/or

checking out before 9:00 a.m. was false when made or, in the alternative, were ignorant of its

truth.

         58.    Sam’s Club’s employees and/or agents intended that their representation be acted

upon by Herrmann in the manner reasonably contemplated.

         59.    Herrmann was unaware of the falsity of Sam’s Club’s representation, and in fact

actually, and incorrectly, believed that neither she nor any other Sam’s Club member would in

the future be allowed to shop and/or check out before 9:00 a.m. without having a Sam’s Plus

Membership.

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        60.     Herrmann relied upon the truth of Sam’s Club’s representation and had the right

to do so.

        61.     Sam’s Club’s fraudulent misrepresentation proximately caused Herrmann

damage.

        WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest,

punitive damages and such other and further relief as the Court deems just and proper.

                                Count IV – Fraudulent Inducement

        62.     The allegations set forth in paragraphs 1 – 43 are incorporated by this reference as

if fully set forth herein.

        63.     Sam’s Club, through the cashier, customer service representative and/or agents

and employees at Sam’s Club #6474, represented to Herrmann that in order to continue shopping

and/or checking out before 9:00 a.m., she would need to pay to upgrade to a Sam’s Plus

Membership.

        64.     The representation that Herrmann would need to pay to upgrade to Sam’s Plus

Membership in order to continue shopping and/or checking out before 9:00 a.m. was false.

        65.     The representation that Herrmann would need to pay to upgrade to Sam’s Plus

Membership in order to continue shopping and/or checking out before 9:00 a.m. was material.

        66.     Sam’s Club’s employees and/or agents knew the representation that Herrmann

would need to pay to upgrade to Sam’s Plus Membership in order to continue shopping and/or




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checking out before 9:00 a.m. was false or, in the alternative, were ignorant of its truth and/or

should have known of its falsity.

        67.     Sam’s Club’s employees and/or agents intended that their representation be acted

upon by Herrmann.

        68.     Herrmann was unaware of the falsity of Sam’s Club’s representation, and in fact

actually, and incorrectly, believed that neither she nor any other Sam’s Club member would in

the future be allowed to shop and/or check out before 9:00 a.m. without having a Sam’s Plus

Membership.

        69.     Herrmann relied upon the truth of Sam’s Club’s representation and had the right

to do so.

        70.     Sam’s Club’s fraudulent inducement proximately caused Herrmann damage.

        WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest,

punitive damages and such other and further relief as the Court deems just and proper.

                              Count V – Negligent Misrepresentation

        71.     The allegations set forth in paragraphs 1 – 43 are incorporated by this reference as

if fully set forth herein.

        72.     Sam’s Club, through the cashier, customer service representative and/or agents

and employees at Sam’s Club #6474, acting in Sam’s Club’s pecuniary interest of collecting the

Sam’s Plus Membership fee, represented to Herrmann that in order to continue shopping and/or

checking out before 9:00 a.m., she would need to pay to upgrade to a Sam’s Plus Membership.

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        73.       Due to Sam’s Club’s agents’ and/or employees’ failure to exercise reasonable

care or competence in obtaining and/or communicating the information in the foregoing

paragraph, said information was false.

        74.       Sam’s Club, through its agents and/or employees, intentionally provided the

information set forth in paragraph 72 for the guidance of a limited group of persons in a

particular business transaction, namely Sam’s Business members who Sam’s Club was

attempting to induce to upgrade to Sam’s Plus Membership.

        75.       Herrmann justifiably relied on Sam’s Club’s representations.

        76.       As a result of her reliance on Sam’s Club’s representations, Herrmann suffered

pecuniary loss.

        WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest and

such other and further relief as the Court deems just and proper.

                             Count VI – Missouri Merchandising Practices Act

        77.       The allegations set forth in paragraphs 1 – 76 are incorporated by this reference as

if fully set forth herein.

        78.       Herrmann purchased a Sam’s Business Membership for 2019 – 2020. On or

about July 5, 2019, Sam’s Club terminated her Sam’s Business Membership and charged her for

a Sam’s Plus Membership.

        79.       Herrmann maintained her Sam’s Business Membership for personal, family or

household purposes.

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         80.    Herrmann suffered ascertainable loss of money in connection with the

transactions at issue.

         81.    Herrmann’s loss was the result of an unlawful act committed before, during

and/or after a sale or advertisement that was unlawful.

         82.    Sam’s Club’s actions were unlawful under MO. STAT. ANN. § 407.020.1, 15 CSR

60-8.040(1), 15 CSR 60-8.050(1), 15 CSR 60-8.060(1), 15 CSR 60-8.070(1) and/or 15 CSR 60-

8.080.

         WHEREFORE, plaintiff Virginia Herrmann prays this Court enter judgment for Plaintiff

and against Defendant awarding actual damages, prejudgment and post-judgment interest, a

preliminary and permanent injunction enjoining Defendant from engaging in practices alleged,

Plaintiff’s reasonable attorneys’ fees, punitive damages and such other and further relief as the

Court deems just and proper.

                                    Count VII – Class’s Claim

         83.    The allegations set forth in paragraphs 1 – 76 are incorporated by this reference as

if fully set forth herein.

         84.    Sam’s Club violated the common law rights of the class members by unilaterally

terminating the Sam’s Business Membership without notice and by withdrawing the benefits said

membership conferred, including but not limited to the ability to shop before 9:00 a.m. with the

benefit of not having members who were not also Sam’s Business members shopping at the same

time.




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        85.     Sam’s Club further violated the common law rights of the class members by

inducing and/or charging them for Sam’s Plus Memberships based on false pretenses, as set forth

hereinabove and incorporated by this reference.

        86.     As a direct and proximate result of Sam’s Club’s acts and/or omissions, Herrmann

and the Class suffered actual damages in an amount exceeding $25,000.

        87.     Defendant’s actions were wanton, outrageous and/or malicious because of its

reckless indifference to or conscious disregard of the rights of Plaintiff and the Class.

        WHEREFORE, plaintiff Virginia Herrmann prays this Court certify the Class and enter

judgment for Plaintiff and the Class and against Defendant awarding actual damages,

prejudgment and post-judgment interest, a preliminary and permanent injunction enjoining

Defendant from engaging in practices alleged, a mandatory injunction compelling Defendant to

return to Plaintiff and the Class any money collected from Sam’s Business members for Sam’s

Plus Memberships between February 2, 2019 and February 1, 2020, punitive damages and such

other and further relief as the Court deems just and proper.

                               Count VIII – Missouri Class’s Claim

        88.     The allegations set forth in paragraphs 1 – 82 are incorporated by this reference as

if fully set forth herein.

        89.     Sam’s Club violated the common law rights of the Missouri Class members and

the Missouri Merchandising Practices Act by unilaterally terminating the Sam’s Business

Membership without notice and by withdrawing the benefits said membership conferred,




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including but not limited to the ability to shop before 9:00 a.m. with the benefit of not having

members who were not also Sam’s Business members shopping at the same time.

       90.        Sam’s Club further violated the common law rights of the Missouri Class

members and the Missouri Merchandising Practices Act by inducing and/or charging them for

Sam’s Plus Memberships based on false pretenses, as set forth hereinabove and incorporated by

this reference.

       91.        As a direct and proximate result of Sam’s Club’s acts and/or omissions, Herrmann

and the Missouri Class suffered actual damages in an amount exceeding $25,000.

       92.        Plaintiff and the Missouri Class are entitled to attorneys’ fees pursuant to MO.

STAT. ANN. § 407.020.1.

       93.        Defendant’s actions were wanton, outrageous and/or malicious because of its

reckless indifference to or conscious disregard of the consumer rights of Plaintiff and the

Missouri Class. Plaintiff and the Missouri Class are therefore entitled to punitive damages

pursuant to MO. STAT. ANN. § 407.020.1.

       WHEREFORE, plaintiff Virginia Herrmann prays this Court certify the Missouri Class

and enter judgment for Plaintiff and the Missouri Class and against Defendant awarding actual

damages, prejudgment and post-judgment interest, a preliminary and permanent injunction

enjoining Defendant from engaging in practices alleged, a mandatory injunction compelling

Defendant to return to Plaintiff and the Missouri Class any money collected from Sam’s

Business members for Sam’s Plus Memberships between February 2, 2019 and February 1,




                                                   17
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2020, Plaintiff and the Missouri Class’s reasonable attorneys’ fees, punitive damages and such

other and further relief as the Court deems just and proper.




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                                    Respectfully submitted,

                                    ONDERLAW LLC




                                    By:    /s/ W. Wylie Blair
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                                    Attorneys for Plaintiff




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                                                                                                 20SL-CC02098
In the
CIRCUIT COURT                                                                                  ň
                                                                                                       For File Stamp Only
                                                                                                                               ŉ
Of St. Louis County, Missouri
                                                       April 20, 2020
                                                      _________________________
__________________________________________
 Virginia Herrmann                                    Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 SAM’S EAST, INC. d/b/a SAM’S CLUB #6474,
__________________________________________            Division
Defendant/Respondent
                                                                                               Ŋ                               ŋ

                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                             Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         John Houseman -Captured Investigative Agency, 8235 Forsyth Blvd,Ste., St. Louis, MO 314-392-3205
        Name of Process Server                       Address                                                       Telephone

        ___________________________________________________________________________
         Dave Condor - Captured Investigative Agency, 8235 Forsyth Blvd.,Ste 282., St. Louis, MO 314-392-3205
        Name of Process Server                       Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                       Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                     SERVE:
         SAM’S EAST, INC. d/b/a SAM’S CLUB #6474
        ____________________________________________               ____________________________________________
        Name                                                       Name
         CT Corporation System, 120 S. Central Ave.
        ____________________________________________               ____________________________________________
        Address                                                    Address
         Clayton, Missouri 63105
        ____________________________________________               ____________________________________________
        City/State/Zip                                             City/State/Zip

        SERVE:                                                     SERVE:
        ____________________________________________               ____________________________________________
        Name                                                       Name
        ____________________________________________               ____________________________________________
        Address                                                    Address
        ____________________________________________               ____________________________________________
        City/State/Zip                                             City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                               /s/ W. Wylie Blair
                                                                   ___________________________________________
                                                                   Signature of Attorney/Plaintiff/Petitioner
              /s/Laura Scotece
        By ________________________________________
                                                                   ___________________________________________
                                                                   Bar No.
           Deputy Clerk                                             58196
                                                                   ___________________________________________
                                                                   Address
                     04/24/2020
        ___________________________________________                 (314) 963-9000                    (314) 963-1700
                                                                   ___________________________________________
        Date                                                       Phone No.                                     Fax No.


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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
httpV://wS.stlFRXQW\FRXUWVFRP!IRUPV.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC02098
 JOSEPH L. WALSH III
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 VIRGINIA HERRMANN                                              WILLIAM WYLIE BLAIR
                                                                110 East Lockwood, 2nd Floor
                                                          vs.   ST LOUIS, MO 63119
 Defendant/Respondent:                                          Court Address:
 SAM'S EAST, INC. D/B/A SAM'S CLUB #6474                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Breach of Contract                                          CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: SAM'S EAST, INC. D/B/A SAM'S CLUB #6474
                                      Alias:
  SERVE: CT CORPORATION SYSTEM
  120 SOUTH CENTRAL AVE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        24-APR-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       LES
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3675        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                       THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                   Electronically Filed - St Louis County - May 15, 2020 - 01:58 PM
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                                                                                   Electronically Filed - St Louis County - May 15, 2020 - 01:58 PM
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